Case 3:12-cv-00872-JAG Document1 Filed 12/10/12 Page 1 of 5 PagelD# 1

UNITED STATES DISTRICT COURT |. —~~ -
EASTERN DISTRICT OF VIRGINIAHL. r— [ lL _E
RICHMOND DIVISION
DEG. §:0 2% |)
KEITH ENROUGHTY bn’
CLERK, U.S, DISTRICT COURT
Plaintiff, RICHMOND, VA |
y VI
VS. Case No.: 3 ‘ / AC 8 7a

STAPLES MILL PROPERTIES, LLC,
a Virginia corporation

Defendant.

COMPLAINT

Plaintiff, Keith Enroughty ("Plaintiff"), through his undersigned counsel, hereby files this
Complaint and sues Staples Mill Properties, LLC a Virginia limited liability company, for
injunctive relief, attorney’s fees and costs pursuant to 42 U.S.C. §12181, ef seg., (Americans
with Disabilities Act" or "ADA") and alleges:

JURISDICTION AND PARTIES

1, This is an action for declaratory and injunctive relief pursuant to Title III of the
Americans with Disabilities Act, 42 U.S.C. §12181 ef seg. (hereinafter referred to as the
"ADA").

2, This Court is vested with original jurisdiction under 28 U.S.C. §§1331 and 1343.
Venue is proper in this Court pursuant to 28 U.S.C. §1391(B) and Local Rules of the United
States District Court for the Eastern District of Virginia, Western Division.

3. Plaintiff, Keith Enroughty (hereinafter referred to as “Enroughty") is a resident of

the State of Virginia and is a qualified individual with a disability under the ADA. Enroughty
Case 3:12-cv-00872-JAG Document1 Filed 12/10/12 Page 2 of 5 PagelD# 2

suffers from what constitutes a "qualified disability" under the Americans with Disabilities Act
of 1990, ("ADA") and all other applicable Federal statutes and regulations to the extent that he
suffered a spinal cord injury, requires a wheelchair for mobility, and has limited use of his upper
extremities. Prior to instituting the instant action, Enroughty personally visited the Defendant’s
premises within the last four (4) months and was denied full, safe and equal access to the
Defendant’s premises due to the barriers to access which exist and the Defendant’s lack of
compliance with the ADA. Enroughty intends to and continues to desire to visit the Defendant’s
premises but continues to be denied full, safe and equal access due to the barriers to access and
violations which continue to exist.

4, The Defendant, Staples Mill Properties, LLC, a Virginia limited liability
company, (hereinafter referred to as “Staples Mill”) is authorized to conduct and is conducting
business in the State of Virginia. Upon information and belief, Staples Mill is the owner, lessee
and/or operator of the real property and improvements that is the subject of this action, more
specifically, the Roy’s Express Mart, located at 7605 Staples Mill Road in Richmond, Virginia
(hereinafter referred to as the “Service Station”).

5. All events giving rise to this lawsuit occurred in the Eastern District of Virginia in

Richmond.

COUNT I - VIOLATION OF THE AMERICANS WITH DISABILITIES ACT

6. On or about July 26, 1990, Congress enacted the Americans with Disabilities Act
("ADA"), 42 U.S.C. §12101 et seg. Commercial enterprises were provided one-and-a-half years
from enactment of the statute to implement its requirements. The effective date of Title III of the

ADA was January 26, 1992. 42 U.S.C. §12181; 20 C.E.R. §36.508(A).
Case 3:12-cv-00872-JAG Document1 Filed 12/10/12 Page 3 of 5 PagelD# 3

7. Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the establishment owned
and/or operated by Staples Mill is a place of public accommodation in that it is a service station,
which provides goods and services to the public.

8. Defendant, Staples Mill has discriminated, and continues to discriminate against the
Plaintiff, and others who are similarly situated, by denying access to, and full and equal
enjoyment of goods, services, facilities, privileges, advantages and/or accommodations at the
Service Station in derogation of 42 U.S.C. § 12101 et seq.

9, The Plaintiff has been unable to and continues to be unable to enjoy access to, and
the benefits of the services offered at the Service Station. Prior to the filing of this lawsuit, the
Plaintiff visited the Defendant’s premises and was denied access to the benefits,
accommodations and services of the Defendant’s place of public accommodation and therefore
suffered an injury in fact. In addition, the Plaintiff continues to desire and intends to visit the
Service Station, but continues to be injured in that he is unable to and continues to be
discriminated against due to the architectural barriers which remain at the Service Station in
violation of the ADA. Enroughty has now and continues to have reasonable grounds for
believing that he has been and will be discriminated against because of the Defendant’s
deliberate and knowing violations of the ADA.

10. Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the
Department of Justice, Office of the Attorney General, promulgated Federal Regulations to
implement the requirements of the ADA 28 C.F.R. Part 36.

11. Staples Mill is in violation of 42 U.S.C. § 12181 et seg. and 28 C.F.R. § 36.302 et

seq., and is discriminating against the Plaintiff as a result of inter alia, the following specific

barriers to access:
Case 3:12-cv-00872-JAG Document1 Filed 12/10/12 Page 4 of 5 PagelD# 4

i. There is no accessible parking space at the facility such that the Plaintiff is
unable to park in an accessible space and would be forced to risk being
blocked from his vehicle by a vehicle parked in an adjacent space due to
the lack of accessible parking spaces with adjacent access aisles necessary
for wheelchair users;

ii. There is no vertical access provided onto the sidewalk, as the curb at the
property measures in excess of six (6) inches high.

12. There are other current violations of the ADA at the Service Station owned and/or
operated by Staples Mill which are not specifically identified herein as the Plaintiff is not
required to engage in a futile gesture pursuant to 28 C.F.R. Part 36, § 36.501 and, as such, only
once a full inspection is performed by Plaintiff or Plaintiff's representatives can all said
violations be identified.

13. To date, the barriers to access and other violations of the ADA still exist and
have not been remedied or altered in such a way as to effectuate compliance with the provisions
of the ADA.

14. Pursuant to the ADA, 42 U.S.C. § 12101 ef seg., and 28 C.F.R. § 36.304, Staples
Mill was required to make the subject property, a place of public accommodation, accessible to
persons with disabilities by January 28, 1992. To date, Staples Mill has failed to comply with
this mandate.

15. The Plaintiff has been obligated to retain undersigned counsel for the filing and
prosecution of this action. Plaintiff is entitled to have his reasonable attorney’s fees, costs and
expenses paid by Staples Mill pursuant to 42 U.S.C. § 12205.

16. Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority to grant
Plaintiff injunctive relief, including an order to alter the subject facility to make it readily
accessible to, and useable by, individuals with disabilities to the extent required by the ADA, and

closing the subject facility until the requisite modifications are completed.
Case 3:12-cv-00872-JAG Document1 Filed 12/10/12 Page 5 of 5 PagelD# 5

WHEREFORE, the Plaintiff demands judgment against Staples Mill and requests the
following injunctive and declaratory relief:

A. That the Court declare that the property owned and
administered by Staples Mill is violative of the ADA;

B. That the Court enter an Order directing Staples Mill to
alter the subject facility to make it accessible to and usable by
individuals with disabilities to the full extent required by Title III
of the ADA;

C, That the Court enter an Order directing Staples Mill to
evaluate and neutralize its policies, practices and procedures
toward persons with disabilities, for such reasonable time so as to
allow them to undertake and complete corrective procedures;

D. That the Court award reasonable attorney’s fees, costs
(including expert fees) and other expenses of suit, to the Plaintiff;
and

E. That the Court award such other and further relief as it
deems necessary, just and proper.

Dated November 28 2012 a

Jonathan H. Walker, Esquire

Virginia Bar No. 24300

Mason Mason Walker, & Hedrick, P.C.
11848 Rock Landing Dr, #201
Newport News, VA 23606

Telephone: (757) 873-3909

Facsimile: (757) 873-1781
jwalker@masonwalker.com

Local Counsel

